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           EXHIBIT B
                                            Case 3:20-cv-05281-LB Document 1-2 Filed 07/31/20 Page 2 of 4



                                    1   BLOOD HURST & O’REARDON, LLP
                                        TIMOTHY G. BLOOD (149343)
                                    2   THOMAS J. O’REARDON II (247952)
                                                                                                         ELECTRONICALLY
                                        ALEKSANDR J. YARMOLINETS (276707)
                                    3   501 West Broadway, Suite 1490                                        FILED
                                        San Diego, CA 92101                                              Superior Court of California,
                                                                                                          County of San Francisco
                                    4   Tel: 619/338-1100
                                        619/338-1101 (fax)                                                   07/07/2020
                                    5   tblood@bholaw.com                                                Clerk of the Court
                                                                                                            BY: JUDITH NUNEZ
                                        toreardon@bholaw.com                                                           Deputy Clerk
                                    6   ayarmolinets@bholaw.com

                                    7   ROBBINS LLP
                                        KEVIN A. SEELY (199982)
                                    8   STEVEN M. MCKANY (271405)
                                        DARNELL R. DONAHUE (281926)
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   BLOOD HURST & O’ REARDON, LLP




                                   12   ddonahue@robbinsllp.com

                                   13   Attorneys for Plaintiff and the Class

                                   14                     SUPERIOR COURT OF THE STATE OF CALIFORNIA

                                   15                               FOR THE COUNTY OF SAN FRANCISCO

                                   16   ROBERT WRIGHT, on behalf of himself and     Case No. CGC-20-585092
                                        all others similarly situated,
                                   17                                               Assigned for All Purposes to
                                                       Plaintiff,                   Honorable
                                   18                                               Complex Department
                                               v.
                                   19                                               PROOF OF SERVICE OF SUMMONS,
                                        CHARLES SCHWAB & CO., INC.,                 CLASS ACTION COMPLAINT, CIVIL
                                   20                                               CASE COVER SHEET, ADR
                                                       Defendant.                   INFORMATION PACKAGE, AND
                                   21                                               NOTICE TO PLAINTIFF RE CASE
                                                                                    MANAGEMENT CONFERENCE
                                   22

                                   23                                               CLASS ACTION

                                   24                                               Complaint Filed:      June 23, 2020
                                                                                    Trial Date:           Not Set
                                   25
                                                                                    JURY TRIAL DEMANDED
                                   26
                                   27

                                   28
                                                                                                            Case No. CGC-20-585092
00165268                                                  PROOF OF SERVICE OF SUMMONS AND COMPLAINT
                            Case 3:20-cv-05281-LB Document 1-2 Filed 07/31/20 Page 3 of 4

                                                                                                                                                    POS-010
   AHORNEY OR PARTY WITHOUT AHORNEY (Name, State Bar number, and address):                                                FOR COURT USE ONLY
     Timothy Blood, 149343
     Blood Hurst & O'Reardon LLP
     501 West Broadway, Suite 1490
     San DieQO, CA 92101
         TELEPHONE NO.: (619) 338-1100
      ATTORNEY FOR (Name):        Plaintiff
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF
 Superior Court of California, San Francisco County
 400 McAllister Street
 San Francisco, CA 94102

       PLAINTIFF/PETITIONER: Robert Wright, on behalf of himself, et al                               CASE NUMBER:

                                                                                                      CGC-20-585092
 DEFENDANT/RESPONDENT: Charles Schwab                        & Co., Inc., et al.
                                                                                                      Ref. No . or File No.:
                                     PROOF OF SERVICE OF SUMMONS                                      22720-01 Schwab 2020
1. At the time of service I was a citizen of the United States, at least 18 years of age and not a party to this action.             BY f AX
2. I served copies of:
Summons, Class Action Complaint, Civil Case Cover Sheet, Alternative Dispute Resolution Information Package, Notice to Plaintiff re
Case Management Conference



3. a. Party served: Charles Schwab & Co., Inc.
    b. Person Served: Daisy Montenegro - CT Corporation System - Person Authorized to Accept Service of Process

4. Address where the party was served: 818 West Seventh Street, Suite 930
                                            Los Angeles, CA 90017
5. I served the party
     a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
        receive service of process for the party (1) on (date): 07/02/2020                (2) at (time): 1:50PM
6. The "Notice to the Person Served" (on the summons) was completed as follows:




      d. on behalf of:


    Charles Schwab & Co., Inc.
    under: CCP 416.10 (corporation)
7. Person who served papers
   a. Name:        Jessica Brown
   b. Address:     One Legal - P-000618-Sonoma
                                  1400 North McDowell Blvd, Ste 300
                                  Petaluma, CA 94954

  c. Telephone number: 415-491-0606
  d. The fee for service was: $ 40.00
  e I am:
       (3) reoistered California process server.
             (i) Employee or independent contractor.
             (ii) Registration No. : 2019217220
             (iii) County: Los Angeles
8. I declare under penalty of perjury under the laws of the United States of America and the State of California that the foregoing is true and correct.
Date: 07/02/2020



                    Jessica Brown
                      (NAME OF PERSON \M-10 SERVED PAPERS)                                                     (SIGNATURE)
  Form Adopted for Mandatory Use                                                                                                  Code of Civil Procedure, § 417.10
Judicial Council of California POS-01 o
        [Rev. Jan 1, 2007]                               PROOF OF SERVICE OF SUMMONS
                                                                                                                     OL# 14861082
                                          Case 3:20-cv-05281-LB Document 1-2 Filed 07/31/20 Page 4 of 4



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                                   2   Dated: July 7, 2020                  BLOOD HURST & O’REARDON, LLP
                                                                            TIMOTHY G. BLOOD (149343)
                                   3                                        THOMAS J. O’REARDON II (247952)
                                                                            ALEKSANDR J. YARMOLINETS (276707)
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                                   5                                        By:            s/ Timothy G. Blood
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                                  16
                                                                            Attorneys for Plaintiff
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                                                                                                      Case No. CGC-20-585092
00165268                                                PROOF OF SERVICE OF SUMMONS AND COMPLAINT
